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       IN THE UNITED STATES COURT OF INTERNATIONAL TRADE


ONE WORLD TECHNLOGIES, INC.,

                               Plaintiff
                      v.                           Case No. 19-cv-0017

THE UNITED STATES OF AMERICA;
U.S. DEPARTMENT OF HOMELAND
SECURITY; U.S. CUSTOMS AND                         JURY TRIAL DEMANDED
BOARDER PROTECTION; and KEVIN K.
MCALEENAN, in his official capacity as
Commissioner of U.S. Customs and Border
Protection

                               Plaintiff

MOTION FOR LIMITED DISCOVERY AND ENTRY OF A SCHEDULING ORDER

       Defendant-Intervenor The Chamberlain Group, Inc. (“Chamberlain”), hereby moves

this Court for the entry of an order permitting Chamberlain to conduct expedited, limited

discovery for the purpose of developing an effective rebuttal to Plaintiff One World

Technologies, Inc.’s (“OWT”) assertions of irreparable harm and non-infringement. If the

Court intends to deny the Government’s pending motion to dismiss this action for lack of

jurisdiction, we respectfully ask that a schedule be entered providing deadlines for the parties

to propound limited written discovery requests and conduct depositions prior to the Court

entering a decision on Plaintiff One World Technologies, Inc.’s (“OWT”) pending request for

entry of a preliminary injunction.

                                      BACKGROUND

       On January 25, 2019, OWT filed, among other things, a summons, a complaint, and a

motion for temporary restraining order and preliminary injunction (“TRO/PI”) supported by a

memorandum and twenty-five exhibits. OWT is seeking the release of four shipments of

“redesigned” Ryobi-branded Garage Door Openers (“Redesigned GDOs”) seized by Customs

pursuant to a Limited Exclusion Order (“LEO”) issued by the International Trade



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Commission finding that OWT’s GDOs infringed, among others, Chamberlain’s U.S. Patent

No. 7,161,319 (“the ’319 patent”). Plaintiff’s complaint asserts jurisdiction under both 28

U.S.C. § 1581(h) and 28 U.S.C. § 1581(i). See Compl. at ¶ 5.

              On February 6, 2019, Chamberlain filed its motion to intervene as patent owner and

beneficiary of the challenged LEO. The ITC filed a motion to intervene for the purpose of

challenging jurisdiction on February 5, 2019. The Court granted both of those motions on

February 15, 2019, after entry of the TRO.

              On January 28, 2019, Judge Stanceu—then presiding—ordered supplemental briefing

on the questions of the Court’s jurisdiction to grant OWT’s requested relief under 28 U.S.C. §

1581(i). Dkt. No. 11. On February 7, 2019, OWT filed a dispositive motion for summary

judgment of non-infringement. See Dkt. No. 37. On February 8, 2019, Judge Choe-Groves

was assigned as presiding judge. Dkt. No. 40. Also on February 8, 2019, the Court set a

hearing on OWT’s requests for a TRO, PI, and on jurisdictional questions for February 11,

2019. Dkt. No. 44. On February 11, 2019, the Court canceled the planned hearing, instead

conducting a closed telephonic hearing. Dkt. No. 46. The Government objected to the

holding of the hearing, as they had not had the opportunity to submit any response to OWT’s

papers. Dkt. No. 58-1 (sealed) at 5:17-22. The Government also objected to holding the

hearing without the opportunity to conduct written discovery or subpoena a Home Depot

witness to rebut OWT’s allegations of irreparable harm. Id. at 6:5-17. Over the

Government’s objections, OWT gave an opening statement and presented one witness, Mr.

Mark Huggins, the Vice President of Product Development at OWT. OWT also relied upon

Mr. Huggin’s prior testimony in the companion case—in which the Government also

objected1—and the prior testimony of Mr. Stuart Lipoff, OWT’s expert—to which the

                                                            
1
 See One World Techs., Inc. v. United States, Case No. 18-0200, Dkt. 32 at 3. OWT’s two
witnesses for the preliminary injunction hearing in Case No. 18-0200 were disclosed to
Government counsel at 11:05 AM on September 24, 2018, one day prior to the hearing. At


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Government also objected. Later that same day, the Court granted OWT’s motion for a TRO,

holding that the Court possessed jurisdiction under § 1581(i) and prohibiting Customs from

“seiz[ing]” or “taking any other action that may affect the disposition” of the detained

shipments of Redesigned GDOs. Dkt. No. 51 at 3.

              On February 15, 2019, the Government Defendants moved to dismiss the case for

want of jurisdiction. In an order the same day, the Court ordered supplemental briefing on

the jurisdictional questions. Dkt. No. 57. That briefing was completed on February 19, 2019.

              On February 21, 2019, the Court extended the expiration of the TRO from February

25, 2019 to March 11, 2019. The TRO remains in effect. Dkt. No. 70.

              For the reasons discussed below, Chamberlain respectfully submits that if the

Government’s pending motion to dismiss this action is not granted, then the Court should

permit the parties to conduct expedited, limited discovery before ruling on OWT’s request for

a preliminary injunction. Plaintiff’s counsel has been apprised of this motion and does not

consent. Counsel for the ITC does not oppose the motion, and counsel for the Government

opposes the motion to the extent that the Court rules on the discovery motion prior to

determining whether it has jurisdiction.                                               If the Court finds that it has jurisdiction, the

Government joins the instant motion.

                                                                             ARGUMENT

              OWT’s request for a PI—and the Court’s grant of a TRO—are based on (1) OWT’s

claims that CBP improperly excluded its “redesigned” GDOs under the LEO because the

products do not infringe the ’319 patent; and (2) OWT’s claims that it will suffer irreparable

harm because its supplier, the Home Depot, may end the relationship. With respect to the

first element, the only evidence in front of the Court is the unrebutted say-so of OWT’s

expert in a separate, preliminary proceeding and OWT’s self-serving characterization of
                                                                                                                                                                                         
3:35 PM and 9:46 PM later that same day, OWT disclosed certain prior testimony from Mr.
Huggins and Mr. Lipoff, respectively, to the Government.


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Chamberlain’s statements made in separate proceedings. With respect to the second element,

the only evidence in front of the Court is, again, unrebutted hearsay testimony from OWT

about what Home Depot may do and unreliable, constantly shifting estimates of OWT’s

inventory. Limited discovery—to OWT and to the Home Depot—is required to rebut OWT’s

one-sided narrative.

       As the Court is likely aware, patent infringement cases are some of the most complex

cases, requiring the adjudicator to review and consider extensive information regarding both

the patent at issue, the allegedly infringing product, and the knowledge and understanding of

experts in the field. For example, in the modification proceeding for the LEO initiated

pursuant to 19 C.F.R. § 210.76, fact discovery includes written discovery and three fact

depositions related to the structure, function, and operation of the Redesigned GDOs and the

deposition of competing experts. Although OWT attempts to frame the issues as purely legal

questions of claim construction, claim construction is undisputedly a mixed question of law

and fact, particularly when based on expert testimony or opinion. See Teva Pharmas. USA,

Inc. v. Sandoz, Inc., 135 S. Ct. 831, 843 (2015) (“The District Court’s finding about this

matter was a factual finding—about how a skilled artisan would understand [the claim

term].”)

       Moreover, OWT’s claims of irreparable harm are partially based on hearsay

proclamations of what Home Depot may do and what Home Depot’s inventory may be.

Chamberlain’s request for limited discovery will be targeted at testing OWT’s claims.

       Chamberlain understands the need for prompt resolution in the present case, and is

therefore proposing limited discovery in a heavily compressed time frame, that will

nonetheless permit Chamberlain to develop and present an effective rebuttal. If this Court

denies the Government’s pending motion to dismiss and proceeds with a consideration of




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OWT’s request for a preliminary injunction, such consideration should be based on a full

measure of relevant information.




                                                 Respectfully submitted,

    Dated: March 1, 2019                         By: /s/ Benjamin C. Elacqua

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                                                 Counsel for The Chamberlain Group, Inc.

 
 




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                               CERTIFICATE OF SERVICE  

        Pursuant to USCIT R. 5 and Paragraphs 5 and 6 of Administrative Order 02-01 of the
U.S. Court of International Trade, I hereby certify that on February 19, 2019, I caused a copy
of the foregoing The Chamberlain Group, Inc.’s Motion for Limited Discovery to be
delivered to the following individuals:
 
The United States Court of International Trade:
United States Court of International Trade          ☒ CM/ECF
1 Federal Plaza                                     ☐ Hand-delivery
New York, NY 10278-0001
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U.S. Department of Homeland Security                ☐ Hand-delivery
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              IN THE UNITED STATES COURT OF INTERNATIONAL TRADE

ONE WORLD TECHNLOGIES, INC.,

                                Plaintiff
                       v.                          Case No. 19-cv-0017

THE UNITED STATES OF AMERICA;
U.S. DEPARTMENT OF HOMELAND
SECURITY; U.S. CUSTOMS AND                         JURY TRIAL DEMANDED
BOARDER PROTECTION; and KEVIN K.
MCALEENAN, in his official capacity as
Commissioner of U.S. Customs and Border
Protection

                                Plaintiff

 ORDER FOR LIMITED DISCOVERY AND ENTRY OF A SCHEDULING ORDER

         Upon reading The Chamberlain Group, Inc.’s (“Chamberlain”) motion for limited

discovery; upon other papers and proceedings had herein; and upon due deliberation, it is

hereby

         ORDERED that Chamberlain’s motion be, and hereby is, granted; and it is further

         ORDERED that the parties meet and confer on the specific discovery limits; and

         ORDERED that the following schedule is entered in this matter:

         1.      Limited discovery shall be completed by March 29, 2019. Such discovery

                 shall include limited written and deposition discovery on issues raised in

                 OWT’s Preliminary Injunction papers, including non-infringement and

                 irreparable harm, as well as a limited third party subpoena for documents and

                 a deposition to The Home Depot.



                                               ______________________________________
                                                  JENNIFER CHOE-GROVES, JUDGE


         Date: _______________, 2019
